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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF SOUTH CAROLINA

    Stewart R. Buchanan, also known      )      C/A No.: 1:21-385-DCN-SVH
    as Daphne Renee’ Stewart,            )
                                         )
                     Plaintiff,          )
                                         )
         vs.                             )
                                         )
    JumpStart South Carolina;            )
    Michael Scharff; Daniel Sulton,      )
    Vice-Chairman, Bd. Of Dir.,          )           REPORT AND
    JumpStart South Carolina; Bob        )       RECOMMENDATION AND
    Caldwell; Sharon McDowell; Chris     )             ORDER
    Phillips; Chuck Fields; Tommy        )
    Holt; Mike Kiriakides; Chris         )
    Urban; Tommy Moore; Carey            )
    Sanders; David Johnson; NFN          )
    Beard; Bryan Stirling; Larry Epps;   )
    Charles Williams; and Willie         )
    Davis,                               )
                                         )
                     Defendants.         )
                                         )

        An inmate sues prison officials and a Christian-based organization that

provides a rehabilitation program within the prison system, alleging he lost

his position in the program because of his transgender or homosexual status.1

Both the prison officials and the religious organization members move for

summary judgment, arguing Plaintiff’s claims against them should be

dismissed.


1Because Plaintiff refers to himself using male pronouns, the court does so as
well.
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      Stewart R. Buchanan, also known as Daphne Renee’ Stewart,

(“Plaintiff”), proceeding pro se and in forma pauperis, filed this suit against

JumpStart South Carolina (“JumpStart”) and multiple members of that

organization including Cary Sanders (“Sanders”), David Johnson (“Johnson”),

NFN Beard (“Beard”), as well as members of JumpStart’s board of directors

(collectively “JumpStart Defendants”). Plaintiff additionally sues the

following employees of the South Carolina Department of Corrections

(“SCDC”): Bryan Stirling (“Stirling”), SCDC Director; Larry Epps (“Epps”),

the SCDC senior chaplain at Perry Correctional Institution (“PCI”); PCI

warden Charles Williams (“Williams”); and Willie Davis (“Davis”) (collectively

“SCDC Defendants”). Plaintiff asserts claims under 42 U.S.C. § 1985 and §

1986 for conspiracy to violate his civil rights, under 42 U.S.C. § 1983 for

violations of his First and Fourteenth Amendment rights, and pursuant to

South Carolina statutory and constitutional law. [ECF No. 1 at 4, 6, ECF No.

1-1 at 13–16].2




2 Previously, the court construed Plaintiff as having asserted claims pursuant
to Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq. (“Title
VII”) and the Fair Housing Act, Title VIII of the Civil Rights Act of 1968, as
amended by the Fair Housing Amendments Act of 1988, 42 U.S.C. § 3601 et
seq. (“Fair Housing Act”). [See ECF No. 44 at 2]. However, Plaintiff has
clarified in briefing that he is not bringing claims based on Title VII or the
Fair Housing Act. [See ECF No. 86-2 at 13 (citing ECF No. 1-1 ¶ 5), see also
ECF No. 1-1 ¶¶ 51–61, ECF No. 99 at 2–3].
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       This matter comes before the court on the motions for summary

judgment filed by SCDC Defendants and JumpStart Defendants. [ECF Nos.

74, 75]. Pursuant to Roseboro v. Garrison, 528 F.2d 309 (4th Cir. 1975), the

court advised Plaintiff of the dismissal procedures and the possible

consequences if he failed to respond adequately to the motion. [ECF No. 76].

The motions having been fully briefed [see ECF Nos. 86, 87, 92, 96], they are

ripe for disposition. Also pending before the court is Plaintiff’s motion for

summary judgment [ECF No. 88] as well as his motions to compel and motion

to appoint guardian ad litem [ECF Nos. 70, 71, 73].

       Pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Civ. Rule 73.02(B)(2)(d)

(D.S.C.), the case has been assigned to the undersigned for all pretrial

proceedings. Having carefully considered the parties’ submissions and the

record in this case, the undersigned denies Plaintiff’s motions to compel and

motion to appoint a guardian and recommends the district judge deny

Plaintiff’s motion for summary judgment and grant SCDC and JumpStart

Defendants’ motions for summary judgment.

I.     Factual and Procedural Background

       A.   JumpStart Programs at PCI

       South Carolina has established an Offender Employment Preparation

Program, pursuant to which SCDC is directed as follows:

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      To aid incarcerated individuals with reentry into their home
      communities of this State, the South Carolina Department of
      Corrections shall assist inmates in preparing for meaningful
      employment upon release from confinement. The South Carolina
      Department of Corrections shall coordinate efforts in this matter
      with the Department of Employment and Workforce, Department
      of Probation, Parole and Pardon Services, the Department of
      Vocational Rehabilitation, Alston Wilkes Society, and other
      private sector entities.

S.C. Code Ann. § 24-13-2110. SCDC is further directed to enter into a

memorandum of understanding (“MOU”) with participating entities. See S.C.

Code Ann. § 24-13-2120 (“Each agency shall adopt policies and procedures as

may be necessary to implement the memorandum of understanding.”). The

MOU is to establish the role of each agency in:

      (1) ascertaining an inmate’s opportunities for employment after
      release from confinement and providing him with vocational and
      academic education and life skills assessments based on
      evidence-based practices and criminal risk factors analysis as
      may be appropriate;

      (2) developing skills enhancement programs for inmates, as
      appropriate;

      (3) coordinating job referrals and related services to inmates prior
      to release from incarceration;

      (4) encouraging participation by inmates in the services offered;

      (5) developing and maintaining a statewide network of
      employment referrals for inmates at the time of their release
      from incarceration and aiding inmates in the securing of
      employment;



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      (6) identifying and facilitating other transitional services within
      both governmental and private sectors;

      (7) surveying employment trends within the State and making
      proposals to the Department of Corrections regarding potential
      vocational training activities.

S.C. Code Ann. § 24-13-2130.

      The MOU entered into between SCDC and JumpStart provides in part

as follows:

      WHEREAS, SCDC is required to aid incarcerated individuals
      with reentry into their communities pursuant to Section 24-13-
      2110, et. seq. of the South Carolina Code of Laws of 1976, as
      amended; and

      WHEREAS, Jumpstart provides certain services including
      discipleship, re-entry workshops, employment readiness
      activities, and other programs to assist incarcerated individuals
      prepare for and successfully reenter their communities; and

      WHEREAS, SCDC desires, and Jumpstart agrees, to enter into
      this Memorandum of Understanding whereby Jumpstart shall
      provide services to eligible inmates within SCDC to help ensure a
      successful reentry for such inmates into South Carolina
      communities . . . .

      Monitoring of Jumpstart services will be the responsibility of
      SCDC Chaplains at the facilities where the services are
      performed . . . .

      Compliance with Rules and Regulations: JumpStart agrees that
      it and its volunteers and employees must comply with all policies
      and procedures of SCDC and all federal, state, and local laws,
      ordinances, regulations, and accreditation standards.

      JumpStart employees/volunteers are not SCDC Employees:
      JumpStart employees/volunteers performing under this
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      Agreement are not to be deemed to be employees of SCDC nor as
      agents of SCDC in any manner whatsoever . . . .

[ECF No. 40-2 at 1–2].

      JumpStart Defendants assert that JumpStart is a 501(c)(3) non-profit

organization dedicated to restoring the lives of inmates on the inside and

outside of prison by addressing the spiritual, educational, employment,

healthcare, housing, and family relationship needs of current and former

prisoners, and assisting with their re-entry into society. [ECF No. 21-1 ¶ 3].

      JumpStart     permits      any    inmate     to   participate   in   its   inside

ministry/discipleship program [ECF No. 75-1 ¶ 8], and only JumpStart’s

ministry as found within PCI is at issue in this case. However, Sanders, who

was the inside program director for JumpStart during the relevant time

period, attests that “JumpStart does expect the participants in the program

to align their conduct with the Biblical teachings that drive the discipleship

program,” for example requiring as follows:

      If you receive a major disciplinary or three minors during the
      JumpStart class, you will be removed from the program . . .

      If you graduate at one level, but then fail to maintain a life of
      faith and character at the same level, you will be reassessed
      concerning whether you will be accepted into JumpStart housing.

[ECF No. 75-1 ¶¶ 3, 8–9, 13, see also ECF No. 99-4 (JumpStart “Getting My

Life In Order” booklet)].

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      According to SCDC chaplain Epps, “[a]round 2016 or 2017, Jumpstart

implemented a policy whereby if an inmate desired help with housing or

employment upon release, such assistance was conditioned upon the inmate

being a professing and practicing Christian by the end of the program.” [ECF

No. 74-15 ¶ 15]. Epps describes JumpStart as being “a very unique program”

and “privately funded.” Id. ¶ 14. JumpStart is one of multiple organizations

that Epps has worked with at PCI, and Epps estimates he has “helped

between ten to thirty inmates per year locate housing and/or employment, or

both,” working “with the inmates to find a good fit” between them and the

various programs. Id. ¶¶ 7, 10, 12.

      According to Plaintiff, SCDC real estate is made available to

JumpStart, “including buildings, seating for over 100, podiums, desks, tables,

microphones and stands, amplifiers, speakers, conference rooms, telephones,

computers, printers, volunteer inmate labor . . . .” [ECF No. 1-1 ¶ 32].3

      B.    JumpStart Discipleship Program

      Plaintiff was transferred to PCI on January 16, 2018. [ECF No. 74-2 at

1]. Shortly thereafter, he voluntarily applied and was accepted into

JumpStart’s 2018 discipleship program. [ECF No. 75-1 ¶¶ 6–7; ECF No. 75-2



3In this Circuit, verified complaints by pro se prisoners are to be considered
as affidavits when the allegations contained therein are based on personal
knowledge. Williams v. Griffin, 952 F.2d 820, 823 (4th Cir. 1991).
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¶¶ 7–8]. Plaintiff alleges that Epps approved him to participate in the

program, but Epps attests he was not involved in the decision. [ECF No. 1-1 ¶

34, ECF No. 74-15 ¶ 17]. Plaintiff describes the program as “a rigorous, forty

(40) week, Christian religious character litmus test.” [ECF No. 1-1 ¶ 29].

      Plaintiff completed the JumpStart discipleship program in late 2018.

[ECF No. 75-1 ¶ 14; ECF No. 75-2 ¶ 9]. He graduated with a “blue” folder,

which is the highest assessment a participant can receive. Id. JumpStart

Defendants assert that Plaintiff was one of the highest-performing

participants in the 2018 program. Id. Although Plaintiff states that Epps

decided Plaintiff would graduate “at the very top of the class” [ECF No. 1-1 ¶

34], Epps attests that he was on a committee and provided one of many votes

in support of Plaintiff’s “blue folder” status. [ECF No. 74-15 ¶ 18].4

      JumpStart Defendants have submitted evidence that “JumpStart does

not begin the process of thoroughly evaluating an inmate for participation in

JumpStart’s post-release housing or employment programs until the inmate’s

release is certain and imminent.” [ECF No. 75-1 ¶ 35, see also id. (“Based on

Buchanan’s current status, JumpStart has not yet evaluated his application

for housing and will not do so unless and until it appears as though he will be

4 JumpStart Defendants have submitted evidence that “[r]eceiving a blue
folder does not entitle a participant to anything—it simply means the
participant has passed the program with the highest level of assessment.”
[ECF No. 75-1 ¶ 15; ECF No. 75-2 ¶ 10].
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released.”); ECF No. 74-15 ¶ 11 (“In light of the number of prisoners who are

unsuccessful in their bids for parole, it would be an incredible waste of time

and resources to try to line up transitional services prior to an inmate being

granted parole.”)].

      Plaintiff, however, alleges Johnson appeared before the South Carolina

Parole Board on November 13, 2018, to represent Epps’s decision that, if

paroled, Plaintiff would be guaranteed employment and housing by

JumpStart. [ECF No. 1-1 ¶ 35].5 Plaintiff was denied parole. Id.

      C.    JumpStart Leadership Program

      After successfully completing JumpStart’s discipleship program,

Plaintiff voluntarily requested to participate in JumpStart’s leadership



5 Plaintiff has submitted evidence of an excerpt from his psychological
evaluation presumably related to a parole hearing, in which Epps
represented to the psychologist as follows:
      He stated that if Mr. Buchanan makes parole, “I get the housing
      packet for JumpStart, I do that, I will let them know they have a
      blue folder coming.” This means JumpStart would expect Mr.
      Buchanan to take a leadership role in the house and in the
      organization. Chaplain Epps had also reached out to “retired
      pastor” Frank Ledvinka about Mr. Buchanan. Pastor Ledvinka
      indicated to him that he wanted to offer Mr. Buchanan a “full
      time ministry” opportunity if released.
[ECF No. 1-3 at 40]. Plaintiff argues “[i]t is common knowledge at Perry CI
that if Chaplain Epps does not approve of one’s lifestyle since graduation,
they will not have any folder coming.” [ECF No. 88-2 ¶ 8]. Plaintiff also states
“Epps has and uses the authority to make all final decisions as to who is
denied employment and housing opportunities.” [ECF No. 1-1 ¶ 33]. Epps
denies he has any involvement in these decisions. [ECF No. 74-15 ¶ 16].
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training program. [ECF No. 75-1 ¶ 17; ECF No. 75-2 ¶ 12]. If an inmate

successfully completes the leadership training program, the inmate is eligible

to serve as a peer leader/coach of a small group of participants in subsequent

JumpStart classes. [ECF No. 75-1 ¶ 18; ECF No. 75-2 ¶ 13]. This is an

unpaid, volunteer position. Id.

      In February 2019, Plaintiff began serving as a peer leader/coach of a

small group of participants in the 2019 JumpStart discipleship class. [ECF

No. 75-1 ¶ 20; ECF No. 75-2 ¶ 14]. Plaintiff alleges Epps “employed Plaintiff

as a ‘Coach’” [ECF No. 1-1 ¶ 34], although Epps attests he was not involved

in any decision related to Plaintiff’s attaining this position. [ECF No. 74-15 ¶

19]. Plaintiff alleges his job performance continued to exceed minimum

requirements and his personal ministry expanded to providing Sunday

School and visitation for PCI’s handicapped in the assisted living unit until

Epps learned that Plaintiff lived openly as transgendered between 2004 and

2008. [ECF No. 1-1 ¶ 36].

      D.    Plaintiff’s Version of Events Regarding his Removal from the
            JumpStart Programs

      According to Plaintiff, his good friend, John William Duncan

(“Duncan”), was transferred to PCI on January 31, 2019; Plaintiff states he

and Duncan had known each other since 1973, indicating they had previously

had a close relationship. [ECF No. 88-2 ¶ 3]. After Duncan’s arrival, Plaintiff
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alleges he began to spend time with Duncan, and “[t]hat is what drew

Defendant Epps’ attention and brought to him the previously untold story

that I am a male to female transgender individual.” Id. ¶ 4.

      During this time, it appears the parties agree that Epps had been

allowing Plaintiff to use the PCI chaplaincy offices and equipment for

Plaintiff to assist Torian Ware (“Ware”), PCI’s institutional coach or

recreation specialists, although the parties disagree whether this was a

prison job or volunteer assignment. [See ECF No. 1-1 ¶ 36, ECF No. 74-15 ¶¶

21–22]. The parties do agree, however, that Epps banned Plaintiff from using

the PCI chaplaincy offices and equipment, with Plaintiff arguing it was

because Epps found out about his previous transgendered status and Epps

asserting it was because of ongoing problems with Plaintiff’s attitude. [ECF

No. 1-1 ¶ 36, ECF No. 74-15 ¶¶ 21–27].

      Plaintiff alleges that thereafter, on February 24, 2019, he filed an

American with Disabilities (“ADA”) discrimination claim against Epps, but

was informed that the ADA does not address sex discrimination. [ECF No. 1-

1 ¶ 37, see also ECF No. 74-10 (Plaintiff’s complaint dated February 24, 2019,

stating “I claim a disability due to [a diagnosis of] Unspecified Gender

Dysphoria, by History. I have suffered, and continue to suffer, workplace

discrimination of a very vicious character by Chaplain Larry Epps as a direct

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and proximate result of my disability”)]. Plaintiff alleges he was in Epps’s

office the next day when SCDC chief chaplain Michael Brown telephoned to

advise Epps that Plaintiff had filed a civil rights complaint against him. [ECF

No. 1-1 ¶ 39].6

      Plaintiff alleges on March 13, 2019, Johnson and Beard summoned

Plaintiff to the PCI chaplaincy office, and the following interaction occurred:

      Johnson:    Steward, I understand you identify as transgender.

      Plaintiff: I have been diagnosed with Gender Identity Disorder,
      but I identify as a Christian.

      Johnson: It’s all about appearances, Steward, all about
      appearances. And you’ve filed a complaint in Columbia against
      Chaplain Epps, so you’[v]e defied spiritual authority . . . . I just
      got off the phone with [Sanders] and he told me to let you know
      you have one of two choices—you can go through JumpStart
      again, or you can walk out the door.

Id. ¶ 41. Plaintiff alleges he contacted Sanders on December 10, 2019, who

refused to reverse the March 13, 2019 decision. Id. ¶ 42. Plaintiff then

appealed Sanders’ refusal to Epps, who also refused to reverse the March 13,

2019 decision. Id. ¶ 43. Finally, Plaintiff alleges he notified the following



6 Plaintiff also states that on February 25, 2019, associate warden Susan
Duffy “advised Defendant Epps of his potential liability and recommended he
speak to Plaintiff” and that a meeting that took place on March 13, 2019,
where Epps, Johnson, and Beard discussed Plaintiff’s transgender status
[ECF No. 1-1 ¶¶ 38, 40]. However, there is no indication that these assertions
are based on Plaintiff’s personal knowledge and are therefore inadmissible
for summary judgment purposes.
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JumpStart Defendants about the situation, receiving no response: Michael

Scharff (“Scharff”), Daniel Sulton (“Sulton”), Bob Caldwell (“Caldwell”),

Sharon McDowell (“McDowell”), Chris Phillips (“Phillips”), Chuck Fields

(“Fields”), Tommy Holt (“Holt”), Mike Kiriakides (“Kiriakides”), Chris Urban

(“Urban”), and Tommy Moore (“Moore”) (collectively, “JumpStart board

members”). Id. ¶ 46.

      E.    JumpStart’s Version of Events Regarding Plaintiff’s Removal
            from the JumpStart Programs

      JumpStart Defendants have put forth evidence that in early March

2019, JumpStart discovered that Duncan was a member of Plaintiff’s small

group. [ECF No. 75-1 ¶ 21; ECF No. 75-2 ¶ 15; see also ECF No. 74-15 ¶ 28].

JumpStart does not permit any peer leaders/coaches to have inmates in their

small groups with whom the peer leader/coach has a close relationship or has

a negative relationship. [ECF No. 75-1 ¶ 22; ECF No. 75-2 ¶ 16]. Johnson

reached out to Sanders to discuss how to best resolve the potential conflict of

interest. [ECF No. 75-1 ¶ 23; ECF No. 75-2 ¶ 17]. Johnson and Sanders

agreed the appropriate solution would be to move Duncan to a different small

group with a different peer leader/coach. Id.

      JumpStart Defendants agree with Plaintiff that Johnson met with

Plaintiff in early March 2019, but assert he did so to inform Plaintiff that he



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and Sanders had agreed to move Duncan to a different small group.7

According to JumpStart Defendants, Plaintiff reacted negatively in a manner

that suggested he was not ready to serve as a JumpStart peer leader/coach.

[ECF No. 75-1 ¶ 24; ECF No. 75-2 ¶ 18]. Plaintiff demanded to have Duncan

stay in his small group, and he refused to respect JumpStart’s authority in

making the decision to move Duncan to a different small group. Id.

Thereafter, Johnson and Sanders agreed that Plaintiff was not ready to serve

as a peer leader/coach based on his response to the situation, but that

Plaintiff could continue in the program as a participant. [ECF No. 75-1 ¶ 26–

27; ECF No. 75-2 ¶ 19–20].

      When Plaintiff was offered this choice, he “became agitated,” accusing

Johnson “of acting like so many ‘other Christians’ who had treated him

differently based on his apparently having been diagnosed with gender

dysphoria or some other gender identity issue.” [ECF No. 75-2 ¶ 20].

JumpStart Defendants state this was the first time Johnson or anyone at

JumpStart had ever heard of Plaintiff’s diagnosis. [ECF No. 75-2 ¶ 20; ECF

No. 75-1 ¶ 29]. In every interaction with Sanders, Plaintiff presented himself



7 Plaintiff argues that if this were true, he would not have been summoned
alone to the back office of the chaplaincy concerning “a mundane roster
change,” away from witnesses, and he would not have been informed via two
JumpStart representatives, as opposed to a second-year coach or the outside
volunteer supervisor. [ECF No. 88-2 ¶¶ 1, 7].
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as a male and never said anything to the contrary. [ECF No. 75-1 ¶ 29; see

also ECF No. 74-15 ¶ 29 (Epps attesting to the same)].

      JumpStart Defendants assert Plaintiff rejected the choices offered and

chose to leave the room and the class. [ECF No. 75-2 ¶ 20]. On March 6, 2019,

Johnson sent an e-mail to Epps, copying Sanders, providing as follows:

      This email is to inform you that Steward Buchanon has been
      removed from Jumpstart. To be brief he was removed for not
      respecting authority which is a cornerstone of what Jumpstart
      hopes to teach and to be an example of for the men who
      participant in the program. It was brought to my attention by
      Inside Jumpstart leaders McKinney, Steven, and Hunt that Mr.
      Buchanon may have or was acting inappropriately with a
      participant in his Jumpstart group.8 Mr. Buchanon was informed
      that it would be best for the small group and for the participant
      to be moved into another group. The reason for this move would
      be to ensure an unbiased assessment by his coach throughout the
      course of this class. With assessments being completed with the
      aide of inmate leadership within Jumpstart, it would set a bad
      example if the appearance of favoritism or bias was made toward
      a Jumpstart participant. This suggestions was met in a negative
      manner that is unbecoming of a Jumpstart coach.

      Mr. Buchanon was given two choices concerning the incident. I
      offered him the option to stay in the class but as a participant
      and not a coach or he could leave the class. At this point, he was
      agitated and proceeded to tell me how he thought of how poorly
      fellow Christians treated people like him who are different—
      apparently he has been diagnosed with gender dysphoria or some
      other gender identity issue—it was at this point that I pointed

8 Plaintiff argues this evidence indicates he was discriminated against based
on his homosexual activities, as opposed to his transgender status, and
maintains that “the final action[]” against Plaintiff, presumably the March
13, 2019 meeting, did not occur until after he “complained of a civil rights
violation to Defendant Johnson.” [ECF No. 99-2 at 23].
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      out that his comments, tone, and attitude at that moment were
      prime examples as to why he should not be a coach any longer in
      Jumpstart and that it was his defiance of the leadership over him
      in Jumpstart that was the impetus to my conversation with him
      today. He agreed and then left the room.

      I want to make clear that Mr. Buchanon did not in any way make
      me feel uncomfortable. He did not curse at me. He did not act
      aggressively. Nor did he treat me in a way that I would take as
      disrespectful. I recognize that he was upset and possibly
      embarrassed. The purpose of this letter to you is not to have Mr.
      Buchanon “written up” or disciplined in any way but to let you
      know why the decision was made and the grounds on which it
      was made.

[ECF No. 75-2 ¶ 21, id. at 7].

      According to JumpStart Defendants, even though Plaintiff left the

JumpStart program in March 2019, he retained his status as a blue folder

graduate of the program. [ECF No. 75-1 ¶ 32; ECF No. 75-2 ¶ 23]. However,

in July 2019, Plaintiff received a major disciplinary citation for threatening

to harm a SCDC employee. [ECF No. 75-1 ¶ 33, id. at 14, ECF No. 75-2 ¶ 24].

Based on the citation, JumpStart downgraded Plaintiff’s status in the

program from pass to fail, or from blue to red. [ECF No. 75-1 ¶ 33; ECF No.

75-2 ¶ 24]. According to JumpStart Defendants, even though JumpStart

downgraded Plaintiff from pass to fail, Plaintiff can still go back through and

successfully complete the discipleship program to re-attain his passing

status, either a green or blue folder. [ECF No. 75-1 ¶ 34; ECF No. 75-2 ¶ 25].



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      Plaintiff’s next parole hearing date is unknown, but it can occur no

earlier than February 10, 2023. [ECF No. 74-14 ¶¶ 4–5]. Plaintiff “has had

regular parole hearings over the years, all of which have been denied” since

January 12, 1983. Id. ¶¶ 3–4.9

      F.      Procedural History

      In January 2020, Plaintiff filed an administrative grievance concerning

the issues presented in this case. [ECF No. 1-3 at 5]. Plaintiff appealed the

denial of that grievance in February 2020. Id. at 7. Plaintiff then challenged

the denial of his appeal in the South Carolina Administrative Law Court

(“ALJ”). Id. at 8. In order issued on October 29, 2020, the ALJ stated in part

as follows:

      Prisoners have a right protected under the First Amendment to
      be free from retaliation by prison officials after filing a prison
      grievance. Booker [v. South Carolina Department of Corrections,
      855 F.3d 533, 545 (2017)]. Therefore, Appellant’s claim of
      misconduct against the Department, if proven, has its remedy
      under a federal § 1983 action . . . . Because Appellant has not
      alleged the infringement of a state-created liberty or property
      interest, it is appropriate to dismiss this appeal. Therefore, this
      Court will grant Respondent’s Motion to Dismiss. Appellant’s
      claim is more properly heard in federal court.

9 Plaintiff has also submitted evidence indicating that the JumpStart
program discriminates against Muslims. [See ECF No. 70-2]. However,
Plaintiff does not, and cannot, bring suit on behalf of other inmates and
cannot assert claims based on discrimination against a group that he is not a
member. The undersigned notes a Muslim inmate at PCI has a suit currently
pending in this court against JumpStart. See Skipper v. Jumpstart, C/A No.
4:20-4146-TLW-TER (Nov. 30, 2020).
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Id. at 3.

        Plaintiff filed the instant suit on February 5, 2021. [ECF No. 1].

Thereafter, JumpStart Defendants filed a motion to dismiss, arguing they are

not state actors; thus, Plaintiff’s claims “premised on 42 U.S.C. §§ 1983, 1985,

and 1986 for purported violations of Plaintiff’s rights under the First and

Fourteenth Amendments of the U.S. Constitution and South Carolina

Constitution” cannot proceed against them. [See ECF No. 21 at 3]. The

district judge adopted the undersigned’s recommendation to deny JumpStart

Defendants’ motion to dismiss. [See ECF Nos. 44, 100].

II.     Discussion

        A.    Standard on Summary Judgment

        The court shall grant summary judgment “if the movant shows that

there is no genuine dispute as to any material fact and the movant is entitled

to a judgment as a matter of law.” Fed. R. Civ. P. 56(a). The movant bears the

initial burden of demonstrating that summary judgment is appropriate; if the

movant carries its burden, then the burden shifts to the non-movant to set

forth specific facts showing that there is a genuine issue for trial. See Celotex

Corp. v. Catrett, 477 U.S. 317, 322–23 (1986). If a movant asserts that a fact

cannot be disputed, it must support that assertion either by “citing to

particular parts of materials in the record, including depositions, documents,
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electronically stored information, affidavits or declarations, stipulations

(including those made for purposes of the motion only), admissions,

interrogatory answers, or other materials;” or “showing . . . that an adverse

party cannot produce admissible evidence to support the fact.” Fed. R. Civ. P.

56(c)(1).

      In considering a motion for summary judgment, the evidence of the

non-moving party is to be believed and all justifiable inferences must be

drawn in favor of the non-moving party. See Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 255 (1986). However, “[o]nly disputes over facts that might

affect the outcome of the suit under the governing law will properly preclude

the entry of summary judgment. Factual disputes that are irrelevant or

unnecessary will not be counted.” Id. at 248. Further, while the federal court

is charged with liberally construing a complaint filed by a pro se litigant to

allow the development of a potentially meritorious case, see, e.g., Cruz v.

Beto, 405 U.S. 319 (1972), the requirement of liberal construction does not

mean that the court can ignore a clear failure in the pleadings to allege facts

that set forth a federal claim, nor can the court assume the existence of a

genuine issue of material fact when none exists. Weller v. Dep’t of Soc. Servs.,

901 F.2d 387 (4th Cir. 1990).




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      B.    Analysis

      Plaintiff has sued SCDC and JumpStart Defendants, asserting ten

causes of action. [See ECF No. 1-1 ¶¶ 51–61]. Primarily, Plaintiff asserts the

following constitutional violations, brought pursuant to 42 U.S.C. § 1983:

First Amendment Establishment Clause violation, First Amendment

Retaliation, and Fourteenth Amendment Equal Protection violation. Plaintiff

also asserts a conspiracy to commit the same, brought pursuant to 42 U.S.C.

§§ 1985 and 1986. Finally, Plaintiff references the South Carolina

constitution and certain statutes.

                   1.    Plaintiff’s Standing to Sue

      Both SCDC and JumpStart Defendants have challenged Plaintiff’s

standing to bring this lawsuit. Therefore, the court must address this issue

before it can consider the merits of Plaintiff’s constitutional claims. See

Whitmore v. Arkansas, 495 U.S. 149, 154 (1990) (“[B]efore a federal court can

consider the merits of a legal claim, the person seeking to invoke the

jurisdiction of the court must establish the requisite standing to sue.”).

      “Article III of the Constitution provides that federal courts may

consider only ‘[c]ases’ and ‘[c]ontroversies.’” U.S. Const. art. III, § 2. Thus, “a

plaintiff seeking relief in federal court must first demonstrate that he has




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standing to do so, including that he has a personal stake in the outcome[.]”

Gill v. Whitford, 138 S.Ct. 1916, 1923 (2018) (citation omitted).

      To establish standing, “[t]he plaintiff must have (1) suffered an injury[-

]in[-]fact, (2) that is fairly traceable to the challenged conduct of the

defendant[s], and (3) that is likely to be redressed by a favorable judicial

decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016), as revised (May

24, 2016). An injury-in-fact is “an invasion of a legally protected interest that

is concrete and particularized and actual or imminent, not conjectural or

hypothetical.” Id. at 339 (citations omitted). In questions concerning

standing, the court “view[s] the evidence in the light most favorable to [the

plaintiff] and draw[s] all reasonable inferences in his favor.” United States v.

Phillips, 883 F.3d 399, 405 (4th Cir. 2018).

      SCDC Defendants argue as follows:

      Plaintiff’s contention that he has sustained a constitutional
      injury by being deprived of housing and employment
      opportunities through JumpStart is, at its core, fictional for the
      simple reason Plaintiff has never been granted parole, and it is
      unknown whether he will ever make parole, whether during his
      next scheduled parole hearing or at some undetermined future
      date.

[ECF No. 74-1 at 5 (citing 74-14 ¶ 5 (“The Department of Probation, Parole,

and Pardon Services sets parole dates, so it is unknown at this time when

inmate Buchanan’s next parole hearing will actually take place. It is also

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unknown whether, as with each prior time, inmate Buchanan will be denied

parole.”)]. Likewise, JumpStart Defendants argue “[t]he only harm Plaintiff

has alleged in his Complaint involves the purported impact on his

employment and housing opportunities after his release from prison,” and

“[b]ecause the harm Plaintiff has alleged assumes (1) he will be released from

prison, which is in no way guaranteed, and (2) he will not go back through

and pass the JumpStart program between now and his potential release,

which is similarly hypothetical, his claims are not yet ripe for adjudication.”

[ECF No. 75-3 at 15, 17 (emphasis in original)].10

       SCDC and JumpStart Defendants are correct that to the extent

Plaintiff complains of impact to his prospects, post-parole, he lacks standing

to assert claims based on such “conjectural or hypothetical,” versus

“particularized and concrete,” injuries. Kenny v. Wilson, 885 F.3d 280, 287

(4th Cir. 2018) (citation omitted). Thus, Plaintiff lacks standing to assert

claims concerning housing or employment opportunities allegedly to be

provided by JumpStart at some unknown future time.

       However, Plaintiff also alleges Epps discriminated against him by

banning him from using the chaplaincy offices and equipment and,

10 Plaintiff, in briefing, argues he has been harmed, in part, when his
employment with JumpStart was terminated. [See ECF No. 86-2 at 10–11].
Plaintiff also repeatedly argues SCDC and JumpStart Defendants’ actions
have caused “injury to his civil rights.” Id.
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thereafter, Epps, Sanders, Johnson, and Beard discriminated and retaliated

against him when he complained of Epps’ original discrimination via

grievance by dismissing him from the JumpStart program, including his

position as a peer leader/coach. The court finds these allegations satisfy the

Article III standing requirement. See, e.g., Planned Parenthood of S.C. Inc. v.

Rose, 361 F.3d 786, 790 (4th Cir. 2004) (“Discriminatory treatment . . .

qualif[ies] as an actual injury for standing purposes. Moreover, plaintiffs in

discrimination cases may seek equal treatment in the form of a level playing

field, regardless of whether this is achieved by extending benefits to the

disfavored group or by denying benefits to the favored group.. . . . This level

playing field analysis, though typically seen in equal protection cases, also

applies in First Amendment cases.”) (citations omitted)); American Civil

Liberties Union, Inc. v. Wicomico Cnty., 999 F.2d 780, 785 (4th Cir. 1993)

(“Retaliation by a public official for the exercise of a constitutional right is

actionable under 42 U.S.C. § 1983, even if the act, when taken for different

reasons, would have been proper.”); Abdulhaseeb v. Saffle, 65 F. App’x 667,

673 (10th Cir. 2003) (“The Supreme Court has stated that the denial of equal

protection is itself the injury required to bring such a claim. ‘The ‘injury in

fact’ in an equal protection case . . . is the denial of equal treatment resulting

from the imposition of [a] barrier, not the ultimate ability to obtain the

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benefit.’”) (citing Northeastern Fla. Chapter of Assoc. Gen. Contractors of

Am. v. City of Jacksonville, 508 U.S. 656, 666 (1993)); Vazquez v. City of New

York, No. 21 CIV. 1573 (PAE), 2021 WL 1966397, at *5 (S.D.N.Y. May 17,

2021) (“The claims that Vazquez appears to have standing to assert, and

which could conceivably give rise to viable claims under § 1983, include the

following: . . . . he lost his law library job and was transferred in retaliation

for filing complaints and grievances . . . .”); Crowder v. Diaz, 2019 WL

3892300 (E.D. Cal. Aug. 19, 2020), report and recommendation adopted, 2019

WL 5566433 (E.D. Cal. Oct. 29, 2019) (denying motion to dismiss equal

protection claim against defendant who denied plaintiff a job at the prison

library based on plaintiff’s transgender status).11

       Accordingly, the undersigned recommends the district judge deny

SCDC and JumpStart’s motions for summary judgment based on Plaintiff’s

lack of standing as to his federal claims for violation of his First and

Fourteenth Amendment rights.

11SCDC and JumpStart Defendants do not address Plaintiff’s assertion that
he was injured when he lost his position as a peer leader/coach except beyond
asserting this argument “is factually misplaced” in that the position is “an
unpaid, volunteer position” and “not employment role in any sense of the
phrase.” [ECF No. 75-3 at 15 n.1; see also ECF No. 93 at 4 (“To the extent
Plaintiff’s alleged harm is tied to his removal from serving as a peer
leader/coach role in JumpStart’s discipleship program, there is no property
interest whatsoever in that role.”)]. However, neither SCDC nor JumpStart
Defendants cite case law indicating that whether a position is paid or unpaid
impacts the standing analysis as articulated above.
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            2.     Exhaustion of Administrative Remedies

      SCDC and JumpStart Defendants argue Plaintiff failed to exhaust his

administrative remedies as required by the Prison Litigation Reform Act

(“PLRA”), specifically 42 U.S.C. § 1997e(a). Section 1997e(a) provides “[n]o

action shall be brought with respect to prison conditions under section 1983

of this title, or any other Federal law, by a prisoner confined in any jail,

prison, or other correctional facility until such administrative remedies as are

available are exhausted.” Id. This requirement “applies to all inmate suits

about prison life, whether they involve general circumstances or particular

episodes, and whether they allege excessive force or some other wrong.”

Porter v. Nussle, 534 U.S. 516, 532 (2002). To satisfy this requirement, a

plaintiff must avail himself of every level of available administrative review.

See Booth v. Churner, 532 U.S. 731 (2001). Those remedies neither need to

meet federal standards, nor are they required to be plain, speedy, and

effective. Porter, 534 U.S. at 524.

      Satisfaction of the exhaustion requirement requires “using all steps

that the agency holds out, and doing so properly.” Woodford v. Ngo, 548 U.S.

81, 90 (2006) (quoting Pozo v. McCaughtry, 286 F.3d 1022, 1024 (7th Cir.

2002)) (emphasis in original)). Thus, “it is the prison’s requirements, and not

the [PLRA], that define the boundaries of proper exhaustion.” Jones v. Bock,

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549 U.S. 199, 218 (2007). Defendants have the burden of establishing that

Plaintiff failed to exhaust his administrative remedies. Anderson v. XYZ

Corr. Health Servs., Inc., 407 F.3d 674, 683 (4th Cir. 2005). However, “an

administrative remedy is not considered to have been available if a prisoner,

through no fault of his own, was prevented from availing himself of it.” Moore

v. Bennette, 517 F.3d 717, 725 (4th Cir. 2008); see also Ross v. Blake, 136 S.

Ct. 1850 (2018).

        SCDC’s grievance system involves a three-step process which is

mandatory. [ECF No. 74-4 ¶¶ 7, 17]. First, except in cases not applicable

here, an inmate must attempt to resolve the issue through informal

resolution by submitting a Request to Staff Member Form (“RTSM”) or

Automated Request to Staff Member Form (“ARTSM”) within eight working

days of the incident. Id. ¶ 7. After a response to the RTSM is received or the

time for response has elapsed, the inmate may file a Step 1 grievance. Id. ¶¶

10–11. When the Step 1 grievance is processed and if the inmate is

unsatisfied with the response, the inmate must appeal by filing a Step 2

grievance within five calendar days of the response. Id. ¶ 14. The response to

the Step 2 grievance is considered the agency’s final decision on the issue. Id.

¶ 15.




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      Here, it appears the parties agree that Plaintiff exhausted his

administrative remedies as to some of his claims. The operative Step 1

grievance in this case, PCI-0043-20, is dated January 13, 2020, but appears

to have been filed on January 16, 2020, and provides as follows:

      “STEWARD, I UNDERSTAND YOU IDENTIFY AS TRANSGENDER .
      . . AND, YOU’VE FILED A COMPLAINT IN COLUMBIA AGAINST
      CHAPLAIN EPPS.”

      These facts were known at Perry only to Chaplain Epps. (See
      KIOSK, ARTSM #19-01171346 &19-01173676). These words
      were used by Chaplain Epps to inflame the religious bigotry of
      Jump Start, Inc. These words were used to rescind my most-elite,
      Jump Start graduate status of “blue folder.” These words were
      used to terminate my employment with Jump Start, Inc. as an
      inmate volunteer “Jump Start Coach.” These words were used by
      Jump Start officials to permanently disqualify me from ever
      entering into their promised landlord-tenant relationship and
      receiving the promised tens or thousands, if not hundreds of
      thousands of dollars worth of low-rent housing, guaranteed job
      placement, individual and group counseling, and various other
      services. These words were used to publicly shame and humiliate
      me, destroying the practical validity and viableness of my
      individual, personal ministry of spiritual healing and
      encouragement with other inmates, toward which I had worked
      so long and hard, by publicly branding me as unworthy and
      unacceptable as a prison community leader.

      Senior Chaplain Epps, Volunteers Carey Sanders, Dave Johnson
      and Dr. [First Name Unknown] Beard each personally,
      individually and severally, successfully acted to violate, at bare
      minimum, my constitutionally secured rights to equal protection
      of the law, due process of the law, and protections against cruel
      and unusual punishment. Each of the aforementioned conspired
      together, and had a meeting of the minds, to carry out these
      actions which violated my constitutional rights. Senior Chaplain
      Epps and Mr. Carey Sanders were each in positions of authority,
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      with sufficient prior notice, to be responsible for stopping the
      violations complained of herein. (See, letter to Mr. Carey
      Sanders, dated 12/10/19, with affidavit of service, dated 12/13/19,
      consisting of 4 pages, attached hereto and by this reference made
      part hereof.)

      These words represent Mr. Carey Sanders final statement in
      behalf of Jump Start, Inc., on 1/03/20. These words represent
      Senior Chaplain Larry Epps’ final decision, denying my appeal of
      Mr. Sanders’ decision.

      I HEREBY GRIEVE CHAPLAIN EPPS’ DECISION (ARTSM
      #20-01496420).

      ACTION REQUESTED: Terminate Chaplain Epps’ employment
      with SCDC. Permanently cancel above volunteers’ permission to
      enter SCDC property. Require Jump Start, Inc. to publish
      LGBT/H (Lesbian, Gay, Bi-Sexual, Transgender/HIV) anti-
      discrimination policy within 90 days or cease and desist
      operating in SCDC until such is published and approved by
      SCDC and Grievant Buchanan. Complete transparency on all
      SCDC actions taken.

[ECF No. 74-9]. Williams denied Plaintiff’s grievance, stating in part “[t]here

is no evidence that Chaplain Epps and/or other staff or volunteers have

engaged in activities that would justify their removal from SCDC.” Id.

      The first referenced ARTSM, #19-01171846, was filed February 24,

2019, and captioned as an ADA complaint, in which Plaintiff asserted he was

diagnosed with gender dysphoria on October 10, 2018, and he has “suffered,

and continue[s] to suffer, workplace discrimination” due to Epps, “as a direct

and proximate result of my disability.” [ECF No. 74-10]. The second

referenced ARTSM, #19-01173676, was filed February 26, 2019, and was a
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follow-up to the prior ARTSM response. [ECF No. 74-11]. Plaintiff asked if

the individual who answered the prior ARTSM “thought the matter was

going to be investigated as he requested.” Id.

      The third referenced ARTSM, #20-01496420, was filed on February 12,

2020, and provides as follows:

      Chaplain Epps, on Monday, 01/06/20, you revealed to me that Mr.
      Carey Sanders, Jump Start Inc., had asked your advice regarding
      the reversal of his 03/13/19 decision to rescind my Jump Start
      Blue Folder status and fire me from employ as a Jump Start
      Coach. You told me that you agreed to participate in this decision
      with him and asked him to E-Mail to you a copy of my 12/10/19
      letter to him, which sat upon your desk. I understand that, on
      01/08/20, Mr. Sanders rendered his decision to allow his 03/13/19
      decision to stand upon the same reasons, and to not reinstate me.
      Even though you assisted Mr. Sanders in reaching this decision,
      it was his and Jump Start’s decision. As Senior Chaplain at
      Perry, you can overrule Mr. Sander’s decision, reinstate my Blue
      Folder Status, and re-employee me as a Jump Start Coach . . . . I
      appeal Mr. Sanders’ decision to you. You and I have discussed
      this extensively over the last ten months. I do not want to talk
      about it any longer. I ask that you response to the ARTSM with
      either a Yes or No . . . .

[ECF No. 74-12]. Epps provided the following response: “No. I can’t and won’t

override or overrule the leaders of any ministry here. That is just not the way

I operate and I don’t think would be right for me to do so. I love you but no, I

can’t do that.” Id.

      Plaintiff filed a timely Step 2 appeal on February 4, 2020. [See ECF No.

74-4 ¶ 33, ECF No. 74-13]. That appeal was denied on March 6, 2020. [ECF

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No. 74-13]. Davis, in denying the appeal, stated “[t]here is no evidence to

substantiate your allegations of staff negligence on the part of Chaplain

Epps.” Id.

       SCDC Defendants argue as follows:

       [E]ven though Plaintiff specifically stated within his Step 1
       grievance that he was grieving Defendant Epps’ “final decision[]
       denying [his] appeal of Mr. Sanders’ decision,” Plaintiff now
       brings claims against four SCDC Defendants and fourteen
       JumpStart defendants for violations of his First and Fourteenth
       Amendment rights, Title VII violations, Title VIII violations, civil
       conspiracy, and various provisions of state law. Yet, Plaintiff only
       grieved Defendant Epps’ refusal to overturn Sanders’ decision. By
       necessity this automatically excludes any claims pertaining to
       Defendants Stirling, Williams, or Davis.

[ECF No. 74-1 at 11]. JumpStart Defendants similarly argue “there can be no

contention that Plaintiff filed a grievance with respect to any of the ten

JumpStart Board Members who he has now dragged into this lawsuit

(Defendants Scharff, Sulton, Caldwell, McDowell, Phillips, Fields, Hold,

Kiriakides, Urban, and Moore).” [ECF No. 75-3 at 17–18].12

       SCDC and JumpStart Defendants have not carried their burden to

prove that Plaintiff failed to exhaust his administrative remedies. See Jones,



12JumpStart Defendants also argue, in the alternative, “Plaintiff did not file
a grievance with respect to any action of JumpStart—only the action of
Chaplain Epps in failing to overturn JumpStart’s decisions.” [ECF No. 75-3
at 17–18]. However, Plaintiff’s Step 1 grievance states clearly that he has
been harmed by the actions of Epps as well as Sanders, Johnson, and Beard.
[See ECF No. 74-9].
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549 U.S. at 211–212; see also Moore v. Bennette, 517 F.3d 717, 725 (4th Cir.

2008).13

       SCDC and JumpStart Defendants have not indicated that Plaintiff was

required to specifically name anyone in his grievances to exhaust his

available administrative remedies. See Moore, 517 F.3d at 726 (declining to

dismiss claim for failure to exhaust where defendants were not named or

referenced in the relevant prison grievance, as nothing in the North Carolina

Department of Corrections’ administrative remedy procedure required the

plaintiff to identify specific individual(s) in his grievance).

       Instead, SCDC Defendants invoke SCDC’s procedural rule that dictates

inmates are “allowed to submit only one issue per incident or circumstances

on each grievance form,” appearing to argue that because Plaintiff stated in

his Step 1 grievance that he grieved Epps’ decision to terminate his

association with JumpStart, no other claim but that decision has been

exhausted. [ECF No. 74-1 at 9 (citing ECF No. 74-4 ¶ 16)]. However,

affording Plaintiff the benefit of liberal construction of his pleadings, as the

undersigned is required to do, the issue Plaintiff complained of in his Step 1




13 Neither SCDC nor JumpStart Defendants provide argument or evidence as
to which, if any, causes of action are barred due to Plaintiff’s alleged failure
to exhaust his administrative remedies.
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grievance, as well as in this instant suit, is that he was discriminated and

retaliated against by members of the JumpStart program and SCDC officials.

      Plaintiff then filed the instant suit naming the same people as found in

his Step 1 grievance, but also Stirling, as director of the SCDC with oversight

of the JumpStart program; Williams and Davis, who denied his Step 1 and

Step 2 grievances; and members of the JumpStart board, who Plaintiff

alleges ignored him when he contacted them concerning the alleged

discrimination. Plaintiff’s claims are grounded in the discrimination and

retaliation he alleges he faced, and his Step 1 grievance put both SCDC and

JumpStart Defendants on notice as to the basis of his complaint. See Jones,

549 U.S. at 219 (“the primary purpose of a grievance is to alert prison

officials to a problem, not to provide personal notice to a particular official

that he may be sued; the grievance is not a summons and complaint that

initiates adversarial litigation.”) (citation omitted).

      Accordingly, the undersigned declines to recommend dismissal of these

defendants based on Plaintiff’s failure to exhaust.

            3.     JumpStart Defendants as State Actors

      A civil action brought pursuant to 42 U.S.C. § 1983 provides a means to

vindicate violations of rights, privileges, or immunities secured by the

Constitution and laws of the United States, but the statute is not, itself, a

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source of substantive rights. Albright v. Oliver, 510 U.S. 266, 271 (1994).

“Section 1983 imposes liability on any person who, under the color of state

law, deprives another person ‘of any rights, privileges, or immunities secured

by the Constitution and laws.’” Doe v. Kidd, 501 F.3d 348, 355 (4th Cir. 2007)

(citing 42 U.S.C. § 1983). “Under 42 U.S.C. § 1983, a plaintiff must establish

three elements to state a cause of action: (1) the deprivation of a right

secured by the Constitution or a federal statute; (2) by a person; (3) acting

under color of state law.” Jenkins v. Medford, 119 F.3d 1156, 1159–60 (4th

Cir. 1997); see also Cox v. Duke Energy Inc., 876 F.3d 625, 632 (4th Cir.

2017) (“[T]o be sued under § 1983, a defendant must either be a state actor or

have a sufficiently close relationship with state actors such that a court

would conclude that [it] is engaged in the state’s actions.”) (citation omitted)).

      “Anyone whose conduct is ‘fairly attributable to the state’ can be sued

as a state actor under § 1983.” Filarsky v. Delia, 566 U.S. 377, 383 (2012)

(citing Lugar v. Edmondson Oil Co., 457 U.S. 922, 937 (1982)). No one factor

is determinative of state action; rather, the state action must be determined

by considering the totality of the circumstances. See Goldstein v. Chestnut

Ridge Volunteer Fire Co., 218 F.3d 337, 341–43 (4th Cir. 2000). Private




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conduct, without state action, is not actionable under § 1983 and the United

States Constitution. See Lugar, 457 U.S. at 936.14

       Historically,     the   Fourth    Circuit    “recognized     four   exclusive

circumstances under which a private party can be deemed to be a state

actor”:

       (1) when the state has coerced the private actor to commit an act
       that would be unconstitutional if done by the state; (2) when the
       state has sought to evade a clear constitutional duty through
       delegation to a private actor; (3) when the state has delegated a
       traditionally and exclusively public function to a private actor; or
       (4) when the state has committed an unconstitutional act in the
       course of enforcing a right of a private citizen.

Andrews v. Federal Home Loan Bank of Atlanta, 998 F.2d 214, 217 (4th Cir.

1993) (citations omitted). Subsequently, the Fourth Circuit recognized a more

flexible approach, stating, “[a]t bottom, the state action determination

requires an examination of all the relevant circumstances, in an attempt to

evaluate ‘the degree of the Government’s participation in the private party’s

activities.’” Goldstein, 218 F.3d at 342 (citation omitted) (collecting cases); see

also id. at 343 (“In short, ‘the Court has articulated a number of different

factors or tests in different contexts,’ and the facts ‘which would convert the

private party into a state actor [vary] with the circumstances of the case.’”

14This analysis likewise applies to claims brought pursuant to 42 U.S.C. §§
1985 and 1986. See, e.g., Curtis v. Ziteke, C/A No. 3:21-420-CMC-PJG, 2021
WL 1795695, at *1 (D.S.C. Apr. 12, 2021), report and recommendation
adopted, C/A No. 3:21-420-CMC, 2021 WL 1791174 (D.S.C. May 5, 2021).
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(citing Lugar, 457 U.S. at 939)). As noted by the Supreme Court, “the

question whether particular conduct is ‘private,’ on the one hand, or ‘state

action,’ on the other, frequently admits of no easy answer.” Jackson v.

Metropolitan Edison Co., 419 U.S. 345, 349–50 (1974).

     As stated, South Carolina established the Offender Employment

Preparation Program, pursuant to which SCDC is directed “[t]o aid

incarcerated individuals with reentry . . . .” SCDC and JumpStart entered

into a MOU that stated JumpStart would “provide[] certain services

including discipleship, re-entry workshops, employment readiness activities,

and other programs to assist incarcerated individuals prepare for and

successfully reentry their communities,” but also that “JumpStart agrees that

it and its volunteers and employees must comply with all policies and

procedures of SCDC and all federal, state, and local laws, ordinances,

regulations, and accreditation standards.” [See ECF No. 40-2]. Although the

MOU makes clear that JumpStart employees and volunteers are not SCDC

employees, the MOU also provides that SCDC chaplains will be responsible

for “[m]onitoring . . . Jumpstart services,” and “[o]verall oversight of

Jumpstart services will be provided by a designated liaison . . . whose

responsibility it is to oversee and ensure compliance with the terms of this

MOU.” See id.

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      JumpStart Defendants do not address the Offender Employment

Preparation Program, the MOU, or Plaintiff’s version of events, and instead,

turning to case law concerning prison chaplains, argue that “Federal courts

considering the issue have carved out as non-state action all decisions by

prison   chaplains—even     full-time   employees    of   the    State—that   are

ecclesiastical in nature.” [ECF No. 75-3 at 13–14 (citing Montono v.

Hedgepeth, 120 F.3d 844, 851 (8th Cir. 1997) (holding “a prison chaplain,

even if a full-time state employee, is not a state actor when he engages in

inherently ecclesiastic functions,” such as excommunicating an inmate for

violation of church law and prohibiting him from attending religious

services)]. JumpStart Defendants argue the decisions (1) to remove Plaintiff

from his role as a peer leader/coach because of his response to having Duncan

removed from his small group and (2) to remove Plaintiff from the program

following a major disciplinary action were “ecclesiastical in nature and

cannot constitute state action as a matter of law.” Id. at 14–15.

      Determining whether a private party’s action is fairly attributable to

the state requires the court to begin by identifying the specific conduct of

which the plaintiff complains. American Mfrs. Mut. Ins. Co. v. Sullivan, 526

U.S. 40, 50 (1999) (citing Blum v. Yaretsky, 457 U.S. 991, 1003 (1982)

(“Faithful adherence to the ‘state action’ requirement . . . requires careful

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attention to the gravamen of the plaintiff’s complaint.”); see also Blum, 457

U.S. at 1002 (treating § 1983’s “color of law” requirement as the equivalent to

the “state action” requirement under the 14th Amendment). Here, the

specific conduct of which Plaintiff complains centers on Epps, Sanders,

Johnson, and Beard’s removal of him from the JumpStart program, including

not allowing him to continue to be a coach, allegedly due to his transgender

or homosexual status and in retaliation for having filed a grievance against

Epps.

        The difficulty is the hybrid nature of the JumpStart program.

Plaintiff’s position is that he was excluded from a rehabilitation program,

albeit a religious one, a program formed subject to the direction of the South

Carolina legislature and overseen by SCDC. [See ECF No. 99-2 at 1 (“. . . he

was     disqualified   and   disfranchised     by   JumpStart      defendants   from

participating in the South Carolina ‘Offender Employment Preparation

Program . . .’”)]. On the other hand, JumpStart Defendants focus on the

religious aspects of the JumpStart program, arguing that “[w]hile not prison

chaplains, the JumpStart representatives who interact with inmates through

the inside ministry/discipleship program are absolutely serving in a faith-

based leadership role that is akin to a chaplain/pastor.” [ECF No. at 75-3 at

14].

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       The Supreme Court has concluded, in the prison context, that private

individuals who contract with the state to provide services to inmates can, in

some circumstances, be considered state actors. For example, a physician

under contract to provide medical services to inmates was a state actor for

purposes of 42 U.S.C. § 1983. West v. Atkins, 487 U.S. 42, 55–56 (1988).15

Other courts, consistent with the direction found in West, have held 42

U.S.C. § 1983 liability can attach where the state has delegated its duty to

transport prisoners, Dykes v. Inmate Servs. Corp., C/A No. 9:14-3609-RMG,

2017 WL 496065, at *3 (D.S.C. Feb. 7, 2017); provide food services, Lewis v.

Mitchell, 416 F. Supp. 2d 935, 947 (S.D. Cal. 2005); monitor drug use, Amig v.

Cty. of Juniata, 432 F. Supp. 3d 481, 487 (M.D. Pa. 2020); and provide mail

screening service, Hill v. Pennsylvania Dep’t of Corr., No. 684 M.D. 2018,

2022 WL 480200, at *6 (Pa. Commw. Ct. Feb. 17, 2022). As stated by the

Fourth Circuit:

       We have also recognized that, subject to certain limitations, the
       government may “delegate its authority [to private entities] to
       incarcerate, to confine, to discipline, to feed, and to provide
       medical and other care to inmates who are imprisoned by order of

15As held by the Fourth Circuit, whether a physician providing medical care
to prisoners is working pursuant to an actual contract with the prison is not
dispositive as to the state actor issue. See Conner v. Donnelly, 42 F.3d 220,
223 (4th Cir. 1994) (holding “that a physician who treats a prisoner acts
under color of state law even though there was no contractual relationship
between the prison and the physician”).

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      the federal government.” Holly v. Scott, 434 F.3d 287, 297 (4th
      Cir. 2006). See also Rosborough v. Management & Training
      Corp., 350 F.3d 459, 461 (5th Cir. 2003) (recognizing prison
      operation as a “fundamentally governmental function” which may
      nevertheless be “delegated to private entities.”).

Kerpen v. Metro. Washington Airports Auth., 907 F.3d 152, 162 (4th Cir.

2018).

      Plaintiff argues “Stirling delegated his statutory duty to provide re-

entry training and services for inmates under his control to a religious

organization . . . .” [ECF No. 86-2 at 11], and there is case law to support

Plaintiff’s position:

      Although RSAT applicants volunteered to enter the non-
      constitutionally mandated rehabilitation program, and the
      program was run by a contract provider (Gateway), the result is
      no different here than in West, supra. In this instance, the
      Commonwealth outsourced the substance abuse treatment
      program it sought to provide to its inmate population to Gateway.
      Gateway’s services were offered exclusively within the confines of
      the prison walls. . . . Gateway, at least within the prison setting,
      was performing a rehabilitative service to an incarcerated
      population, a service that has traditionally been in the exclusive
      prerogative of the State. Gateway and its employees are state
      actors, acting under color of law for purposes of § 1983 when
      undertaking their duties in treating Plaintiff’s substance abuse
      problems.

Rauch v. Dep’t of Corr. of Pennsylvania, C/A No. 3:CV-04-2216, 2007 WL

4198425, at *6 (M.D. Pa. Nov. 20, 2007); see also Manhattan Cmty. Access

Corp. v. Halleck, 139 S. Ct. 1921, 1940 (2019) (Sotomator, J., dissenting)

(“When a government (1) makes a choice that triggers constitutional
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obligations, and then (2) contracts out those constitutional responsibilities to

a private entity, that entity—in agreeing to take on the job—becomes a state

actor for purposes of § 1983.”); Ivan E. Bodensteiner and Rosalie Berger

Levinson, State and Local Government Civil Rights Liability § 1:4

(“Generally, where the government contracts out official functions that

implicate statutory or constitutional duties, state action will be found”)

(collecting cases).

      However, the instant case is unlike the cases cited above. SCDC did not

outsource its responsibility “to aid incarcerated individuals with reentry into

their communities” solely to JumpStart, and therefore, although Plaintiff

argues otherwise, he has not been excluded from the Offender Employment

Preparation Program, only the JumpStart program. Epps has submitted

evidence, which Plaintiff does not dispute, that JumpStart is one of a number

of organizations that provide housing and employment opportunities to

inmates at PCI and in South Carolina. [See ECF No. 74-15 ¶¶ 6–9]. Here,

Plaintiff had a choice of resources, unlike the above cases. See, e.g., Conner,

42 F.3d at 225 (“the state authorizes the physician to provide medical care to

the prisoner, and the prisoner has no choice but to accept the treatment

offered by the physician”); Janny v. Gamez, 8 F.4th 883, 909 (10th Cir. 2021)

(collecting cases and finding Establishment Clause violations where, in part,

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inmates are not offered options beyond religious-based NA and AA programs

as a condition of parole).16

       The instant case also stands in contrast to others where courts have

found religious groups providing rehabilitation services in prisons to be state

actors for purposes of 42 U.S.C. § 1983 liability. For example, in Americans

United for Separation of Church & State v. Prison Fellowship Ministries,

Inc., 509 F.3d 406 (8th Cir. 2007), the Eighth Circuit reviewed the religious

focus of InnerChange, an organization that worked within one of the state

prisons in Iowa.17 The court noted the privileges afforded to inmates who

participated in InnerChange’s program, including the ability to use

computers, see family more often, and have cells with more privacy, further

noting InnerChange’s staff “possess many of the same duties as corrections

personnel.” Id. at 416, 424. Additionally, “the Iowa legislature made specific

appropriations from public funds ‘for a values-based treatment program at

the Newton correctional facility’ when InnerChange solely provided the

program,” and the Iowa Department of Corrections funded 30–40% of



16 Although Plaintiff argues, without support, that the JumpStart program is
“the largest and most well-resourced organization in [the] state that could
provide comprehensive support to him,” [ECF No. 99-2 at 4], there is no
evidence currently before the court concerning this issue.
17 There are significant similarities between InnerChange program and the

JumpStart program.
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InnerChange’s operating costs during the relevant time period. Id. at 418,

420 (emphasis added).

      The Americans United court held the defendants in violation of the

Establishment Clause, holding also in relevant part as follows:

      . . . the alleged deprivation is a violation of the Establishment
      Clause. This violation is possible because of privileges created by
      the DOC in its contracts with Prison Fellowship and
      InnerChange. The DOC gave Prison Fellowship and InnerChange
      access to facilities, control of prisoners, and substantial aid to
      effectuate the program. Thus, the privilege to Prison Fellowship
      and InnerChange was created by the state . . . . In this case, the
      state effectively gave InnerChange its 24-hour power to
      incarcerate, treat, and discipline inmates. InnerChange teachers
      and counselors are authorized to issue inmate disciplinary
      reports, and progressive discipline is effectuated in concert with
      the DOC. Prison Fellowship and InnerChange acted jointly with
      the DOC and can be classified as state actors under § 1983.

Id. at 422–23.

      Here,   JumpStart    is   a   privately-funded   volunteer   organization,

attendance in the JumpStart program is not required, and it is one of many

entities providing services to inmates. SCDC gave JumpStart access to it

facilities, but did not provide JumpStart with control over the inmates or any

aid, much less substantial aid, to effectuate the program. Also, there is no

evidence in record that JumpStart had power to incarcerate, treat, or

discipline inmates, nor that any such power was “effectuated in concert” with

SCDC.

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      As the Fourth Circuit has stated, regardless under what theory state

action is examined,

     Brentwood teaches that the totality of the circumstances in this
     setting is determinative and that all roads lead back to a finding
     of state action “if, though only if, there is such a ‘close nexus
     between the State and the challenged action’ that seemingly
     private behavior ‘may fairly be treated as that of the State itself.’”
     Emphasizing the same point a different way, the majority opinion
     stated that “[t]he judicial obligation is . . . to assure that
     constitutional standards are invoked ‘when it can be said that the
     State is responsible for the specific conduct of which the plaintiff
     complains . . . .’”

Philips v. Pitt Cty. Mem’l Hosp., 572 F.3d 176, 184 (4th Cir. 2009) (citing

Brentwood Acad. v. Tennessee Secondary Sch. Athletic Ass’n, 531 U.S. 288,

2295 (2001).

     Here, the evidence taken in light most favorable to Plaintiff does not

indicate the state is responsible for the conduct about which he complains.

Although Plaintiff repeatedly argues that he was discriminated and

retaliated against by Epps, Sanders, Johnson, and Beard, he has failed to

submit any admissible evidence substantiating his allegations that Epps, as a

SCDC employee, was involved in the decision to have Plaintiff removed from

the JumpStart program, much less that Epps directed his removal. Blum,

457 U.S. at 1004 (holding state action is present if the state has ordered the

private conduct or “exercised coercive power or has provided such significant

encouragement, either overt or covert, that the choice must in law be deemed
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to be that of the State”); DeBauche v. Trani, 191 F.3d 499, 507 (4th Cir. 1999)

(“Thus, the Supreme Court has held that private activity will generally not be

deemed ‘state action’ unless the state has so dominated such activity as to

convert it into state action: ‘Mere approval of or acquiescence in the

initiatives of a private party’ is insufficient.”) (citations omitted)); Jackson v.

Pantazes, 810 F.2d 426, 429 (4th Cir.1987) (finding bail bondsman to be a

state actor, because he obtained “significant aid” from a police officer in

arresting the plaintiff, noting “symbiotic relationship” between bail

bondsmen and the Maryland criminal court system).

      Taking into account the totality of the circumstances, the actions

complained of, taken by select JumpStart Defendants, do not represent the

necessary “close nexus” to the State. See Lugar, 457 U.S. at 936 (holding

purely private conduct, no matter how wrongful or discriminatory is not

actionable under 42 U.S.C. § 1983).

      Finally, as previously discussed by the undersigned, courts have

repeatedly held actions taken by prison chaplain that are ecclesiastical in

nature fall outside the scope of 42 U.S.C. § 1983, although courts disagree

exactly where that line is drawn. [See ECF No. 44 at 10–21]. The court need

not address this issue because, based on a more fulsome record than when

the court addressed this issue previously, Plaintiff makes no argument and

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offers no evidence that he is unable to participate in religious services or

practice his religious at PCI, only that he is unable to participate in the

JumpStart program, rendering the “ecclesiastical” line of cases inapposite.

See, e.g., Phelps v. Dunn, 965 F.2d 93, 102 (6th Cir. 1992) (holding volunteer

chaplain qualified as state actor where he barred the prisoner because of his

sexual orientation from participating in religious services “or even enter the

chapel,” inconsistent with a contract, the warden’s ruling, and prison policy);

Kahn v. Barela, C/A No. 15-1151 MV/SMV, 2020 WL 5977930, at *9 (D.N.M.

Oct. 8, 2020) (holding employees of a private non-profit called Good News Jail

and Prison Ministry to be “acting under color of state law” where the plaintiff

alleged that he, as a Muslim inmate, was not allowed a reasonable

opportunity to practice his religion, in contrast to Christian inmates).

       Here, JumpStart Defendants’ actions are not fairly attributable to the

state. Additionally, as for JumpStart itself, it is not a “person” subject to suit

under § 1983. Will v. Michigan Dep’t of State Police, 491 U.S. 58, 71 (1989).

Accordingly, the undersigned recommends granting JumpStart Defendants’

motion for summary judgment as to Plaintiff’s federal claims.18



18 To the extent Plaintiff’s First Amendment Establishment Clause claim
survives the above recommendation, this claim is also subject to dismissal for
many of the reasons stated above. [See ECF No. 1-1 ¶ 60]. SCDC’s utilization
of JumpStart among other entities to provide rehabilitative services, under
these circumstances, does not send a message of government endorsement of
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                  5.    Defendant Epps

      Plaintiff has submitted evidence that Epps “banned Plaintiff from

using Perry Chaplaincy officers and equipment for his regular prison job as

Recreation Liaison,” after he “learned of Plaintiff’s having lived openly as

transgender between 2004 and 2008.” [ECF No. 1-1 ¶ 36]. Plaintiff alleges

that after Duncan’s arrival, he began to spend time with Duncan, and “[t]hat

is what drew Defendant Epps’ attention and brought to him the previously

untold story that I am a male to female transgender individual.” [ECF No.

88-2 ¶ 4].

      The Equal Protection Clause of the Fourteenth Amendment provides

that a state may not “deny to any person within its jurisdiction the equal

protection of the laws.” U.S. Const. Amend. XIV, § 1. To that end, the Equal

Protection Clause provides that “all persons similarly situated should be

treated alike.” City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439,

(1985). To establish an equal protection claim, a plaintiff “‘must first

demonstrate that he has been treated differently from others with whom he

is similarly situated and that the unequal treatment was the result of

intentional or purposeful discrimination’ . . . . If he makes this showing, ‘the


a religious activity, County of Allegheny v. ACLU, 492 U.S. 573, 592–94
(1989); coerce participation in a religious activity, Lee v. Weisman, 505 U.S.
577, 587 (1992); or excessively entangle the government in a religious
activity, Lemon v. Kurtzman, 403 U.S. 602, 613 (1971).
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court proceeds to determine whether the disparity in treatment can be

justified under the requisite level of scrutiny.’” Veney v. Wyche, 293 F.3d 726,

730–31 (4th Cir. 2002) (citing Morrison v. Garraghty, 239 F.3d 648, 654 (4th

Cir. 2001)).

      Plaintiff’s limited allegations are insufficient to establish he was

treated differently from others with whom he was similarly situated. To

survive SCDC Defendant’s motion for summary judgment, Plaintiff must

assert “specific, non-conclusory factual allegations that establish improper

motive.” Williams v. Hansen, 326 F.3d 569, 584 (4th Cir. 2003) (King, J.

dissenting) (citing Trulock v. Freeh, 275 F.3d 391, 405 (4th Cir. 2001)).

“[M]ere conclusory assertions” of discriminatory intent are insufficient. Id.;

see also Pronin v. Johnson, 628 F. App’x 160, 164 (4th Cir. 2015) (same).

      Plaintiff offers no more than his own conclusory and vague allegations

that he was treated differently by Epps based on his transgender status. In

contrast, Epps has offered sworn testimony that Plaintiff was excluded from

the chaplaincy office due to ongoing disputes between him and Epps

concerning his attitude. [ECF No. 74-15 ¶ 27].

      Accordingly, the undersigned recommends granting SCDC Defendants’

motion for summary judgment as to Plaintiff’s claim against Epps for

violation of his Fourteenth Amendment Equal Protection claim.

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                  6.    Defendants Williams and Davis

      SCDC Defendants argue the only allegations pertaining to Williams

and Davis relate to their ministerial roles in responding to Plaintiff’s Step 1

and Step 2 grievances, and, therefore, Plaintiff has failed to state a claim for

relief that may be granted against them.

      “To establish personal liability under § 1983, . . . the plaintiff must

‘affirmatively show[] that the official charged acted personally in the

deprivation of the plaintiff’s rights.’“ Williamson v. Stirling, 912 F.3d 154,

170 (4th Cir. 2018) (citing Wright v. Collins, 766 F.2d 841, 850 (4th Cir.

1985). In other words, “the official’s ‘own individual actions’ must have

‘violated the Constitution.’“ Id. (quoting Ashcroft v. Iqbal, 556 U.S. 662, 676

(2009)).

      Plaintiff appears to argue that Williams and Davis should be held

liable because they knew what happened to him through his grievances and

did nothing to correct the situation. [See ECF No. 1-1 ¶ 45]. This is

insufficient to state a claim against these defendants. See, e.g., Ford v.

Stirling, C/A No. 2:17-02390-MGL, 2017 WL 4803648, at *2 (D.S.C. Oct. 25,

2017) (“As other Courts have held, an official’s response to a prisoner’s after-




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the-fact grievance does not provide a basis for a Section 1983 claim.”)

(collecting cases)).19

       Accordingly, the undersigned recommends granting SCDC Defendants’

motion for summary judgment, dismissing Williams and Davis from this

case.20

                    7.   Injunctive Relief

       Plaintiff states Stirling “is being sued in his official capacity for

prospective injunctive relief only.” [ECF No. 1-1 ¶ 24; see also id. ¶¶ 63–64

(“A preliminary and permanent injunction ordering Defendant Stirling and

his successor to cease and desist in perpetuity all JumpStart program and

related activities . . . . A preliminary and permanent injunction ordering

[JumpStart Defendants] to cease and desist . . . using . . . system to deny

anyone employment or housing opportunities . . . .”)].

19 To the extent that Plaintiff argues Epps violated his constitutional rights
“a second time” by not overturning Sanders’ decision to not reinstate him as a
coach, his claims fails for the same reason as stated above. [ECF No. 1-1 ¶
58]. No further claims against Epps survive SCDC Defendants’ motion for
summary judgment where Plaintiff has failed to submit admissible evidence
that Epps was involved in the decision to remove him from the JumpStart
program.
20 Further, as Plaintiff has failed to submit any evidence of a constitutional

violation pursuant to 42 U.S.C. § 1983, he has similarly failed to submit any
evidence of a conspiracy to violate his rights pursuant to 42 U.S.C. §§ 1985,
1986. See generally Simmons v. Poe, 47 F.3d 1370, 1376–77 (4th Cir. 1995).
Given this and the above recommendations, it is unnecessary to address
SCDC Defendants’ additional arguments that they are entitled to Eleventh
Amendment immunity and qualified immunity.
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       To obtain a preliminary injunction, the plaintiff must demonstrate “(1)

that he is likely to succeed on the merits; (2) that he is likely to suffer

irreparable harm in the absence of preliminary relief; (3) that the balance of

equities tips in his favor; and (4) that an injunction is in the public interest.”

Winter v. Natural Resources Defense Council., Inc., 555 U.S. 7 (2008). As

discussed above, Plaintiff has not shown he is likely to succeed on the merits.

Accordingly, the undersigned recommends the district judge deny Plaintiff’s

request for injunctive relief.21

                   8.     State-Law Claims

       To the extent Plaintiff raises any state law claims, the court need not

reach them. If the district judge accepts the recommendations made, the

original federal jurisdiction claims will be dismissed. The Fourth Circuit has



21 Plaintiff argues, based on the proceedings before the ALJ and the report
and recommendation previously issued by the undersigned, certain facts or
legal issues in this case have been decided and SCDC and JumpStart
Defendants are bound by those decisions. [See, e.g., ECF No. 86-2 at 1 (“This
is an action to enforce an unappealed final agency adjudication”); 2 (“They
have waived the defenses listed in their motions for summary judgment.
Their claims are barred by the doctrines of waiver, res judicata,
administrative estoppel, record estoppel, estoppel by silence, laches and stare
decisis”), 3 (“Magistrate Hodges’ findings of fact and conclusions of law
became final July 7, 2021”); 9 (“these defendants could have raised these
factual issues during the Inmate Grievance process, as was their right, or
raised the factual and defensive claims before the ALJ or on appeal from the
ALJ’s order, as was their right. They waived these rights . . . .”]. Review of
Plaintiff’s arguments and the applicable case law reveal that Plaintiff’s
arguments are without merit. [See also ECF No. 96 at 1–6].
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recognized that “trial courts enjoy wide latitude in determining whether or

not to retain jurisdiction over state claims when all federal claims have been

extinguished.” Shanaghan v. Cahill, 58 F.3d 106, 110 (4th Cir.1995) (holding

district court did not abuse its discretion in declining to retain jurisdiction

over the state law claims); see also 28 U.S.C. § 1367(c)(3); United Mine

Workers of Am. v. Gibbs, 383 U.S. 715, 726–27 (1966). Therefore, the

undersigned recommends the district judge decline to retain jurisdiction over

any remaining state law claims.

                   9.    Plaintiff’s Motions

       The undersigned recommends the district judge deny Plaintiff’s motion

for summary judgment where it consists solely of a two-page notarized

affidavit, asserting facts relevant to his claims, but asserting no argument in

support. [See ECF No. 88-2].22

       The undersigned denies Plaintiff’s motion to compel JumpStart

Defendants to produce additional discovery where he did not object that he

has received adequate discovery on the issue of whether JumpStart




22 Plaintiff’s reply to his motion for summary judgment provides both
argument and evidence in support of his claims. [See ECF No. 99]. To the
extent Plaintiff is permitted to assert arguments in support of summary
judgment in his reply, the undersigned recommends dismissal of his motion
for the reasons discussed in addressing SCDC and JumpStart Defendants’
motions for summary judgment.
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Defendants are state actors and where that issue is dispositive as to

JumpStart Defendants’ liability, as discussed above. [ECF No. 70].

       The undersigned denies Plaintiff’s motion to compel SCDC Defendants

to produce additional discovery, where he seeks certain SCDC policies, and

where SCDC Defendants represent that “per SCDC policy, inmates are not

allowed to possess copies of SCDC policies” and where the policies sought are

“available in the institutional Law Library.” [ECF Nos. 71, 78].

       The undersigned denies Plaintiff’s motion to appoint a guardian ad

litem pursuant to Fed. R. Civ. P. 17(c). [ECF No. 73]. This rule provides in

part that “[t]he court must appoint a guardian ad litem—or issue another

appropriate order—to protect a minor or incompetent person who is

unrepresented in an action.” Fed. R. Civ. P. 17(c). However, there is no

indication in the record that Plaintiff is a minor or incompetent.

III.   Conclusion and Recommendation

       For the foregoing reasons, the undersigned denies Plaintiff’s motions to

compel and motion to appoint a guardian [ECF Nos. 70, 71, 73] and

recommends the district judge deny Plaintiff’s motion for summary judgment

[ECF No. 88] and grant SCDC and JumpStart Defendants’ motions for

summary judgment [ECF Nos. 74, 75].

       IT IS SO RECOMMENDED AND ORDERED.

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March 2, 2022                               Shiva V. Hodges
Columbia, South Carolina                    United States Magistrate Judge

 The parties are directed to note the important information in the attached
   “Notice of Right to File Objections to Report and Recommendation.”




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      Notice of Right to File Objections to Report and Recommendation

      The parties are advised that they may file specific written objections to
this Report and Recommendation with the District Judge. Objections must
specifically identify the portions of the Report and Recommendation to which
objections are made and the basis for such objections. “[I]n the absence of a
timely filed objection, a district court need not conduct a de novo review, but
instead must ‘only satisfy itself that there is no clear error on the face of the
record in order to accept the recommendation.’” Diamond v. Colonial Life &
Acc. Ins. Co., 416 F.3d 310 (4th Cir. 2005) (quoting Fed. R. Civ. P. 72 advisory
committee’s note).

      Specific written objections must be filed within fourteen (14) days of the
date of service of this Report and Recommendation. 28 U.S.C. § 636(b)(1);
Fed. R. Civ. P. 72(b); see Fed. R. Civ. P. 6(a), (d). Filing by mail pursuant to
Federal Rule of Civil Procedure 5 may be accomplished by mailing objections
to:

                           Robin L. Blume, Clerk
                        United States District Court
                            901 Richland Street
                       Columbia, South Carolina 29201

       Failure to timely file specific written objections to this Report and
Recommendation will result in waiver of the right to appeal from a judgment
of the District Court based upon such Recommendation. 28 U.S.C. § 636(b)(1);
Thomas v. Arn, 474 U.S. 140 (1985); Wright v. Collins, 766 F.2d 841 (4th Cir.
1985); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984).
